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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           BEAUMONT DIVISION



    Peter Harris and Loni Harris,


                  Plaintiffs,                  Case No. 1:24-cv-00313


          v.


    Upwintrade.com, a business                 Plaintiffs’ Motion for
    association; David Shamlian, an            Preliminary Injunction
    individual; John Does 1 – 20,


                  Defendants.



         Plaintiffs Peter and Loni Harris hereby request that the Court enter a

   preliminary injunction extending the relief granted in the extant Temporary

   Restraining Order. In support, they respectfully show the Court the following.

         I.       Preliminary Statement

         The Defendants are foreign cybercriminals who stole over $625,000.00

   from the Harrises in a pig-butchering scam. On August 8, 2024, the Court

   entered a Temporary Restraining Order freezing the Defendants’ assets. In

   the weeks since, there have been several relevant developments.

         •     Four cryptocurrency exchanges appear to have frozen the customer

               accounts to which the Defendants transferred the Harrises’ assets.




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         •     Three additional victims of the Upwintrade scam have come

               forward, describing experiences that exactly match the Harrises’.

         •     Federal agents have initiated an investigation of Upwintrade and

               confirmed the accuracy of the Harrises’ blockchain analysis.

         In short, the case for the injunctive relief the Harrises seek has only

   grown stronger since the Court issued the TRO. For these reasons, and others

   set out below, the Harrises respectfully request that the Court issue a

   preliminary injunction extending the asset freeze until trial.

         II.      Evidence Submitted

         The Harrises submit the following evidence in support of this Motion.

         Exhibit 1: Loni Harris Declaration. Loni Harris is one of the plaintiffs

   in this matter. Her declaration describes her initial exposure to the

   Defendants’ scam and provides relevant documentary evidence.

         Exhibit 2: Peter Harris Declaration. Peter Harris is the husband of Loni

   Harris and the other plaintiff in this matter. His declaration describes the

   Upwintrade scam and provides relevant documentary evidence.

         Exhibit 3: Snyder Declaration. The Defendants also victimized Delaina

   Snyder, her husband Todd Snyder, and a friend they unknowingly exposed to

   the Upwintrade scam. Ms. Snyder contacted the undersigned counsel after

   learning of this suit. Her declaration describes the Upwintrade scam and

   provides further documentary evidence.

         Exhibit 4: Cole Declaration. Evan Cole is a certified blockchain

   investigator and the founder of Digital Investigations, LLC. His declaration
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   (i) shows that the Defendants are, in fact, a syndicate of foreign

   cybercriminals, (ii) describes the devastation caused by the pig-butchering

   epidemic, and (iii) provides blockchain-tracing analysis.

         Exhibit 5: Hoda Declaration. Marshal Hoda is counsel to the Harrises

   in this matter. His declaration provides documentary evidence showing that

   the Defendants received notice of the upcoming injunction hearing.

         III.   Factual Allegations

         The Harrises’ Verified Complaint and their prior motion for the extant

   TRO detailed their allegations against the Defendants. This Motion will avoid

   repetition, insofar as possible, by focusing on the evidence submitted in

   support of this Motion and recent developments.

                A.     The Scam

         The Defendants are a syndicate of foreign cybercriminals who stole

   over $625,000.00 from the Harrises in a pig-butchering scam. And the

   Harrises were not their only victims. Three more Upwintrade victims have

   emerged, and they have provided evidence showing that their experiences

   were functionally identical to the Harrises’.

         The declarations of Loni Harris, Peter Harris, and Delaina Snyder

   (hereafter, together, the “Victim Declarations”) recount the Upwintrade

   scam.1 They attach evidence showing each stage of the scam from their




         1 Ex. 1, Declaration of Loni Harris (hereafter, “L. Harris Decl.”),
   passim; Ex. 2, Declaration of Peter Harris (hereafter, “P. Harris Decl.”),
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   perspectives—from the initial contact through hacked Facebook accounts, to

   trust-building conversations on Skype, to fake trades and false profits on the

   Upwintrade platform, to the scammers’ demands that they pay millions in

   “commissions” and “taxes” to “release” their funds.

         The Cole Declaration explains why there is no doubt that the

   Defendants are, in fact, a syndicate of pig-butchering scammers. It does so by

   trenchantly comparing the Victim Declarations to the paradigm that emerges

   from the most comprehensive academic study of the pig-butchering epidemic

   to date, a forthcoming paper titled Deconstructing a Form of Hybrid

   Investment Fraud: Examining ‘Pig Butchering’ in the United States.2 The Cole

   Declaration also speaks to the context in which this scam arises. It does so by

   introducing additional evidence showing this fraud epidemic's breathtaking

   scope and tragic toll.3

                B.     Blockchain Tracing

         Finally, the Cole Declaration details Digital Investigations’ blockchain

   analysis in this case.4 For several reasons, this blockchain-tracing evidence is

   now even stronger than when it was first offered support of the Harrises’

   motion for the extent TRO. First, Digital Investigations has now traced the



   passim; Ex. 3, Declaration of Delaina Snyder (hereafter, “Snyder Decl.”),
   passim.
         2 Ex. 4, Declaration of Evan Cole (hereafter, “Cole Decl.”), ¶¶ 5 – 17

   (comparing Victim Declarations with leading academic paper).
         3 Ex. 4, Cole Decl., ¶¶ 18 – 23.

         4 Ex. 4, Cole Decl., ¶¶ 24 – 29.


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   assets that both the Harrises and the Snyders transferred to Upwintrade.

   This analysis shows that the Defendants transferred the assets they stole

   from the Harrises and the Snyders through the same intermediary addresses

   and to the same “off ramps.”5 Second, federal agents have confirmed that

   Digital Investigations’ analysis is sound. Third, Digital Investigations has

   reformatted its analysis to show the asset flow to each receiving exchange on

   separate graphs to provide as much clarity as possible.

         IV.    Relief Sought

         The Harrises seek a preliminary injunction extending the freeze of the

   Defendants assets through trial. The standard for issuance of a preliminary

   injunction has both procedural and substantive aspects. The balance of this

   Motion will explain why the Harrises have satisfied these requirements.

                1.     The Harrises have met the procedural requirements for the
                       issuance of a preliminary injunction.

         Under the Federal Rules, “the court may issue a preliminary injunction

   only on notice to the adverse party.”6 This rule “does not require service of

   process, but rather requires notice to the adverse party.”7 As the Eleventh

   Circuit recently noted, “there is a reason Rule 65 allows emergency injunctive




         5 Ex. 4, Cole Decl., ¶¶ 24 – 29.

         6 FED R. CIV. P. 65(a)(1).

         7 Whirlpool Corp. v. Shenzhen Sanlida Elec. Tech. Co., Ltd., 80 F.4th

   536, 542 (5th Cir. 2023) (quoting Corrigan Dispatch Co. v. Casa Guzman,
   S.A., 569 F.2d 300, 302 (5th Cir. 1978)).

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   relief before service of process,” of which this case is an archetypical example.8

   “Holding that a preliminary injunction could not issue before service of

   process on a defendant abroad would mean that plaintiffs could not obtain

   initial relief from impending or ongoing harm … for months or even years as

   the Hague Convention service or alternative service process unfolded.”9

         Plaintiffs provided written notice of the upcoming preliminary-

   injunction hearing to the Defendants on August 29, 2024. They did so by (i)

   emailing two of the Defendants’ email addresses, (ii) sending two Skype

   messages to David Shamlian, and (iii) sending notice through the customer-

   service chat on Upwintrade.com.10

                 2.    The Harrises have met the substantive requirements for
                       the issuance of a preliminary injunction.

         To obtain a preliminary injunction, the movant must show (1) a

   substantial likelihood of success on the merits, (2) a substantial threat of

   irreparable harm if the injunction does not issue, (3) that the threatened

   injury outweighs any harm that will result if the injunction is granted, and

   (4) that the grant of an injunction is in the public interest.11 The Harrises

   have met these requirements for the reasons set out below.




         8 Sec. & Exch. Comm’n v. MCC Int’l Corp., No. 22-12281, 2024 WL

   1508281, at *2 (11th Cir. Apr. 8, 2024).
         9 Id.

         10 Ex. 5, Declaration of Marshal Hoda (hereafter “Hoda Decl.”), at ¶¶

   3-4 (describing notice provided and attaching evidence).
         11 Moore v. Brown, 868 F.3d 398, 402-03 (5th Cir. 2017).


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         Element 1: The Merits. The Harrises allege the Defendants are liable

   for (1) violations of the Racketeering Influenced and Corrupt Organizations

   Act (“RICO”), (2) conversion, and (3) fraud. They are likely to succeed on the

   merits of each of these claims.12

         RICO Claim. To recover on a civil RICO claim, a plaintiff must show

   (1) a violation of 18 U.S.C. § 1962 (a “RICO violation”), (2) an injury to his

   business or property, and (3) that the RICO violation caused this injury.13 To

   prove a RICO violation, a plaintiff must show that the defendant is (1) a

   person14 who engaged in (2) a pattern15 of racketeering activity,16 (3)

   connected to the acquisition, establishment, conduct, or control of an

   enterprise.17


         12 While venue is proper in this Court pursuant to 28 U.S.C. §
   1391(c)(3), the Harrises are residents of California. The Court should thus
   apply California law to the Harrises’ common-law conversion and fraud
   claims.
         13 Lewis v. Danos, 83 F.4th 948, 956 (5th Cir. 2023).

         14 A RICO “person” is “any individual or entity capable of holding a

   legal or beneficial interest in property.” 18 U.S.C. § 1961.
         15 A “pattern of racketeering activity requires at least two acts of
   racketeering activity, one of which occurred after the effective date of this
   chapter and the last of which occurred within ten years (excluding any period
   of imprisonment) after the commission of a prior act of racketeering activity.”
   18 U.S.C. § 1961(5).
         16 “Racketeering activity” includes acts indictable under 18 U.S.C. §

   1341 (relating to mail fraud) and § 1343 (relating to wire fraud). 18 U.S.C. §
   1961(1)(B).
         17 An enterprise is “a group of persons or entities associating together

   for the common purpose of engaging in a course of conduct.” Whelan v.
   Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003) (defining enterprise
   and recounting elements).

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            The Harrises’ RICO claim is likely to succeed. The Victim Declarations

   detail the Defendants’ scam and provide documentary evidence showing how

   that scam unfolded.18 The Cole Declaration, in turn, explains why there is no

   doubt that the Defendants are a syndicate of professional cybercriminals.19

   These declarations show that the Upwintrade scam was the very definition of

   an enterprise created solely to perpetrate a pattern of wire fraud on a global

   scale. At least one court has issued a default judgment approving a civil RICO

   claim in a crypto-fraud case functionally identical to this one.20

            Conversion Claim. To prevail on a conversion claim, a plaintiff must

   show “(1) [their] ownership or right to possession of the property; (2) the

   defendant’s conversion by a wrongful act or disposition of property rights; and

   (3) damages.”21

            The Harrises’ conversion claim is likely to succeed. The Victim

   Declarations and the Cole Declaration show that the Defendants acted

   intentionally, that their scheme was wrongful, and that they took control of



            18 Ex. 1, L. Harris Decl., passim; Ex. 2, P. Harris Decl., passim; Ex. 3,

   Snyder Decl., passim.
            19 Ex. 4, Cole Decl., ¶¶ 5 – 17.

            20 Order on Motion for Final Default Judgment, Sun v. Defendant 1,

   No. 1:23-cv-21855 (S.D. Fla. Dec. 8, 2023), pp. 3-4 (“The allegations in
   Plaintiff’s Amended Complaint, admitted by default, establish each element
   of a RICO § 1962(c) violation. Specifically, Plaintiff alleges that Defendant
   and her co-conspirators operate a sophisticated global internet
   cryptocurrency fraud and conversion scheme …”).
            21 Welco Elecs., Inc. v. Mora, 223 Cal. App. 4th 202, 208 (Cal. Ct. App.

   2014).

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   the Harrises’ assets and have not returned them. Numerous courts have

   found that plaintiffs were likely to succeed on conversion claims in

   cryptocurrency-related fraud cases.22

         Fraud Claim. To prevail on a fraud claim, a plaintiff must show that

   the defendant made (1) a false representation, (2) of a matter of material fact,

   (3) with knowledge of its falsity, (4) for the purpose of inducing action thereon,

   and (5) that the plaintiff relied upon the representation as true and acted

   upon it to his or her damage.23

         The Harrises’ fraud claim is likely to succeed. Again, the Victim

   Declarations and the Cole Declaration show that the Defendants

   intentionally and falsely represented that they would use the Harrises’ assets

   for “trading” and “mining” cryptocurrency for profit. They intended for these

   lies to induce the Harrises to transfer their assets, which they ultimately did.

   These lies were material, and the Harrises acted on them to their detriment.24




         22   See, e.g., Bullock v. Doe, No. 23-CV-3041 CJW-KEM, 2023 WL
   9503380, at *5 (N.D. Iowa Nov. 3, 2023) (“Because the claim underlying this
   request [for an asset-freeze TRO] is mainly conversion—i.e., defendants have
   plaintiff's property wrongfully—plaintiff's likelihood of success on the merits
   of this claim suffice for this factor to weigh in favor of plaintiff and the Court
   need not discuss the further causes of action.”); Yogaratnam v. Dubois, No.
   CV 24-393, 2024 WL 758387, at *4 (E.D. La. Feb. 23, 2024) (“It appears from
   the record that Defendants have no right to claim either possession or
   ownership of the stolen assets, and Defendants’ taking of the funds is clearly
   inconsistent with Plaintiff's rights of ownership.”).
         23 City of Indus. v. City of Fillmore, 198 Cal. App. 4th 191 (2011), as

   modified (Aug. 24, 2011).
         24 Complaint, ¶¶ 13 – 17; Ex. 1, Cole Affidavit, ¶¶ 3 – 5.


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         Element 2: Irreparable Harm. Allowing the asset freeze to dissolve

   would cause irreparable harm. Cybercriminals like the Defendants can and

   do move crypto assets from address to address in mere seconds, with the click

   of a button.25 And while courts can order the freezing and disgorgement of

   crypto assets held at exchange-based addresses, most assets held in “self-

   custody” or at non-compliant exchanges are beyond the effective reach of such

   orders.26 Thus, the tracing of the Harrises’ assets to the Receiving Exchanges

   provides a unique and fleeting opportunity to restrain further dissipation

   while the Harrises identify and serve the Defendants. Courts have

   consistently recognized that these features of blockchain technology justify

   the issuance of ex parte freezing orders in crypto-fraud cases.27




         25 Ex. 4, Cole Decl., at ¶ 30 (explaining the risk of irreparable harm in

   cryptocurrency-related fraud cases and providing leading academic study
   illustrating these risks).
         26 Id.

         27 See, e.g., Ohlin v. Defendant 1, No. 3:23-C-8856-TKW-HTC, 2023 WL

   3676797, at *3 (N.D. Fla. May 26, 2023) (“Considering the speed with which
   cryptocurrency transactions are made as well as the anonymous nature of
   those transactions, it is imperative to freeze the Destination Addresses to
   maintain the status quo to avoid dissipation of the money illegally taken from
   Plaintiffs.”); Jacobo v. Doe, No. 1:22-CV-00672DADBAKBAM, 2022 WL
   2052637, at *3 (E.D. Cal. June 7, 2022) (“Because it would be a simple matter
   for [defendant] to transfer [the] cryptocurrency to unidentified recipients
   outside the traditional banking system and effectively place the assets at
   issue in this matter beyond the reach of the court, the court finds that plaintiff
   is likely to suffer immediate and irreparable harm in the absence of injunctive
   relief.”) (cleaned up); Astrove v. Doe, No. 1:22-CV-80614-RAR, 2022 WL
   2805315, at *3 (S.D. Fla. Apr. 22, 2022) (same).

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         Element 3: Balancing. The Harrises’ threatened injury outweighs any

   damage a freezing order might cause to the Defendants. The Harrises have

   lost their life savings, and the order they seek is their only hope of preserving

   some assets for recovery. And while an asset freeze might cause temporary

   inconvenience to the Defendants, any restraint implemented can be undone

   should future developments require.28 In addition, the Defendants have

   received notice of this proceeding via the same channels they used to

   communicate with the Harrises.29 They can contest the issuance of the

   injunction at the upcoming hearing or seek to have the injunction dissolved

   at any point before final judgment.

         Element 4: Public Interest. A freezing order will serve the public

   interest because it will “dissuade would-be fraudsters from stealing,

   laundering illegal proceeds, and preying on Americans” like the Harrises.30 It

   will also “prevent the Defendants from profiting from their scheme, ensuring

   they lack resources and incentives to perpetrate similar schemes in the




         28 See, e.g., Licht, 2023 WL 4504585, *3 (balancing factor weighed in

   plaintiff’s favor because alleged crypto-thieves faced only “inconvenience” of
   asset-freeze, which could be undone); Jacobo, 2022 WL 2052637, at *6 (same,
   finding “[a] delay in defendant’s ability to transfer the [allegedly stolen]
   assets only minimally prejudices defendant, whereas withholding injunctive
   relief would severely prejudice plaintiff by providing defendant time to
   transfer the allegedly purloined assets into other accounts beyond the reach
   of this court”).
         29 Ex. 5, Hoda Decl., ¶¶ 3 – 4.

         30 Licht, 2023 WL 4504584, at *3.


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   future,”31 and “provide[] assurance to the public that courts will take action

   to promote … recovery of stolen assets when they can be readily located and

   traced to specific locations.”32

          In this case, the public interest weighs particularly heavily in favor of

   the requested injunction. As detailed in the Cole Declaration, the devastation

   wrought by the pig-butchering epidemic is breathtaking. The FBI estimates

   that in 2023 alone, pig-butchering scammers stole nearly $4 billion from tens

   of thousands of American victims.33 CNN has noted that this is “theft at a

   scale so large that investigators are now calling it a mass transfer of wealth

   from middle-class Americans to criminal gangs.”34 The public interest

   overwhelmingly favors preserving victims’ only potential source of recovery

   through the issuance of preliminary injunctive relief.

                     3.   The Court has the authority to issue the asset-freezing
                          injunction the Harrises seek.

          Typically, a court may issue an order freezing a defendant’s assets only

   after a plaintiff has brought his claims to judgment.35 This rule does not




          31   Id.
          32 Jacobo, 2022 WL 2052637, at *6 (quoting Heissenberg, 2021 WL
   8154531, at *2); see also, e.g., Gaponyuk, 2023 WL 4670043, at *3 (finding
   that asset freeze would “serve the public’s interest in stopping, investigating,
   and remedying frauds”).
          33 Ex. 4, Cole Decl., ¶ 22.

          34 Id.

          35 Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527

   U.S. 308, 322 (1999).

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   apply, however, where the plaintiff seeks equitable relief and a constructive

   trust over traceable stolen assets.36 The Harrises seek just such relief here.37

   For that reason, the Court has the authority to issue the asset-freezing

   injunction the Harrises seek.

                4.     The Court should not require a bond.

         Rule 65(c) provides that a court issuing a preliminary injunction should

   do so “only if the movant gives security in an amount that the court considers

   proper to pay the costs and damages sustained by any party found to have

   been wrongfully enjoined or restrained.”38 Yet, “[c]ourts retain extensive

   discretion to set the amount of a bond required as a condition for issuing a

   preliminary injunction and may, in fact, elect to require no bond at all.”39 The

   Defendants will not suffer any damages due to the requested asset freeze,

   which—as explained above—can be undone at any time if the Defendants




         36 See, e.g., Yogaratnam v. Dubois, No. CV 24-393, 2024 WL 758387, at

   *3 (E.D. La. Feb. 23, 2024) (issuing asset-freeze TRO in crypto-fraud case,
   noting that “numerous district courts … have issued a TRO in this exact
   circumstance to freeze a cryptocurrency asset,” and collecting cases); Jacobo,
   2022 WL 2052637, at *3 (issuing asset-freezing TRO where plaintiff sought
   constructive trust over allegedly stolen assets); Gaponyuk, 2023 WL 4670043,
   at *2 (same).
         37 Complaint, ¶ 33; Ex. 5, Cole Decl. ¶¶ 25 – 29 (describing results of

   blockchain tracing and providing evidence showing the tracing of the
   Harrises’ assets to the Receiving Exchanges).
         38 FED. R. CIV. P. 65(c).

         39 Astrove, 2022 WL 2805345, at *5 (declining to require bond in crypto-

   theft case); Jacobo, 2022 WL 2052637, at *6 (same).

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   choose to appear and challenge the injunction. The Harrises thus request that

   the Court decline to impose a bond.

         V.     Conclusion

         For the reasons set out above, the Harrises have met the standards for

   issuance of a preliminary injunction. They request that the Court issue this

   relief in the form of the proposed order submitted with this Motion.



    Dated: September 2, 2024                      Respectfully submitted,

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